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                                   Nos. 24-141 (L), 24-1250,
                                       24-1251, 24-142
                       _____________________________________________

                           IN THE UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT
                       _____________________________________________

                                 ELIZABETH L. GOLDBERG, et al.,
                                      Plaintiffs-Appellees,
                                               - v. -
                              SKYLINE TOWER PAINTING INC., et al.,
                                     Defendants-Appellants.
                       _____________________________________________

               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                   _____________________________________________

        OPENING BRIEF OF APPELLANT SKYLINE TOWER PAINTING, INC.
                 _____________________________________________

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                                   DISCLOSURE STATEMENT

              Pursuant to Federal Rule of Appellate Procedure 28(a)(1), 26.1 and Local

        Rule 26.1, Skyline Tower Painting, Inc. hereby discloses that Skyline Tower

        Painting, Inc. does not have a parent corporation and there is no known publicly

        held corporation that owns 10% or more of its stock or has a direct financial

        interest in the outcome of the litigation.
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                              STATEMENT OF JURISDICTION

              In order to avoid duplicative briefing, Skyline Tower Painting, Inc.

        (“Skyline”) joins in, and adopts, the Statement of Jurisdiction in Co-

        Defendant/Appellant, Television Tower, Inc.’s (“TTI’s”), Opening Brief. Skyline

        and TTI jointly and timely removed this class action case to the U.S. District Court

        for the District of Maryland based on the Class Action Fairness Act, 28 U.S.C. §

        1332(d)(2), under which the district court had original jurisdiction. JA38-44.

        Skyline and TTI both filed timely Notices of Appeal of the same district court

        order entered on March 11, 2024 remanding the case to state court (the “remand

        order”), with the same statutory basis (28 U.S.C. § 1291), and on the same date

        (March 22, 2024). JA185-188, JA189-191. Skyline and TTI both also filed timely

        Petitions for Permission to Appeal the remand order in this Court with the same

        statutory basis (28 U.S.C. § 1453(c)), and on the same date (March 21, 2024),

        initiating Case Nos. 24-141 and 24-142. The stated facts and authority are equally

        applicable to Skyline and TTI.

                                  STATEMENT OF THE ISSUES

              Did the district court err in remanding this case to state court on the grounds

        that Plaintiffs had sufficiently proven that two-thirds of class members are

        Maryland citizens for purposes of the local controversy exception to CAFA

        jurisdiction, 28 U.S.C. § 1332(d)(4)(A)?



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                                     STATEMENT OF THE CASE

           I.       Relevant Procedural History.

                 In order to avoid duplicative briefing, Skyline joins in, and adopts, the

        “Relevant Procedural History” section in TTI’s Opening Brief. The relevant

        procedural history in this matter is equally applicable to both Skyline and TTI.

           II.      Statement of Relevant Facts.

                 Plaintiffs filed their Complaint in this putative class action against Skyline

        and TTI on May 10, 2023, in the Circuit Court of Maryland for Baltimore City,

        Case No. 24-C-23-002263. See Plaintiffs’ Complaint (the “Complaint” or

        “Compl.”) (JA9-37). Skyline is a Colorado-based company specializing in the

        painting of broadcast and communication towers. JA11. In 2022, it began work

        pursuant to a contract with TTI to repaint the exterior of a 1,319-foot steel

        “Candelabra” style television broadcast tower located at 3723 Malden Avenue in

        Baltimore, Maryland (the “tower”) that was owned by TTI. JA11-12. After

        Skyline’s work on the tower began, Plaintiffs allege that they discovered paint

        chips on their respective properties and that lead-based paint chips and dust spread

        to a radius of 4,000 feet surrounding the tower. JA15. Plaintiffs filed this putative

        class action lawsuit on behalf of themselves and property owners within a 4,000-

        foot radius of the tower. JA21. Plaintiffs contend that all of the properties lost value

        of an unspecified amount as a result of the presence of lead-based paint chips and



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        dust. JA20-21. Plaintiffs brought claims against Skyline and TTI for, among other

        things, negligence, and seek damages and injunctive relief. JA25-37.

              On June 23, 2023, Skyline and TTI jointly and timely removed this putative

        class action to the U.S. District Court for the District of Maryland pursuant to

        CAFA, 28 U.S.C. § 1332(d). JA38-45. On July 24, 2023, Plaintiffs filed a motion

        to remand based on CAFA’s “local controversy exception,” 28 U.S.C. §

        1332(d)(4)(A). JA46-59. Under that exception, Plaintiffs had the burden to prove,

        among other things, that two-thirds of class members are Maryland citizens. On

        August 7, 2023, Skyline and TTI each filed an Opposition to Plaintiffs’ motion to

        remand. JA103-109, JA110-133. On August 21, 2023, Plaintiffs filed a Reply to

        Skyline’s Opposition (JA134-141) with a supplemental affidavit attached (JA142-

        144), as well as a Reply to TTI’s Opposition (JA145-154). On March 11, 2024, the

        district court’s opinion and order granting Plaintiffs’ motion to remand were

        entered, holding Plaintiffs had sufficiently proven the required elements of the

        local controversy exception. JA155-182, JA183.

              Plaintiffs defined the class members as “real property owners whose

        property is located within a 4,000-foot radius of the TV Tower on or after May 28,

        2022.” JA21. “Therefore, this class definition does not establish that the class is

        made up only of [Maryland] citizens—meaning individuals who currently reside in

        [Maryland] and have an intent to remain.” Smith v. Marcus & Millichap, Inc., 991



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        F.3d 1145, 1157 (11th Cir. 2021). Plaintiffs also asserted in their Complaint that

        “the exact number of Class Members is uncertain and can only be ascertained

        through appropriate discovery.” JA21. In an abrupt about-face, in moving to

        remand, Plaintiffs claimed (based on Plaintiffs’ counsel’s paralegal, Denise

        Greeley’s (“Greeley’s”), affidavit and excel spreadsheet (JA60-99, JA100-101)),

        that they have unearthed and proved that 86.75 percent of class members are

        citizens of Maryland. JA164 (District Court Opinion stating: “Plaintiffs provide

        evidence that ‘of the 2,786 owners whose properties are situated within the 4000-

        foot radius of the TV Tower, 2,416 of them claimed those same Baltimore City

        properties or another Maryland property as their ‘principal residence.’”) (citing

        JA53 (citing JA60-99, JA100-101)).

              Plaintiffs’ motion to remand relied solely on Greeley, who gathered the data

        on which the motion relied, attaching two exhibits: (1) Spreadsheet of Affected

        Properties and Principal Residence Tax Status (JA60-99), and (2) Affidavit of

        Denise Greeley, dated July 24, 2023 (JA100-101). Plaintiffs also attached one

        exhibit to Plaintiffs’ reply to Skyline’s opposition to the motion to remand: Reply

        Affidavit of Denise Greeley, dated August 21, 2023 (JA142-144).

              The spreadsheet Plaintiffs relied on consisted of a list of 2,785 addresses

        with a column titled “Maryland Principal Residence” with either a Yes or No for

        each address input by Greeley. JA60-101. According to Greeley, she used a map



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        radius calculator found online, which purportedly allowed her to identify postal

        addresses within a 4,000-foot radius of the tower, after which she looked up

        owners of properties on Maryland’s Department of Assessments and Taxation’s

        (“SDAT’s”) website, and whether the addresses were identified as the owner’s

        “principal residence.” JA170 (citing JA101). While the district court indicated that

        all included property owners in the class were individuals, Greeley’s affidavits

        identified that “the 2,785 owners” included three (3) different categories of owners,

        including individuals, as well as “businesses” and “government entities.” JA101.

        The district court misinterpreted Plaintiffs’ submitted materials to mean all

        business entities were removed from the proposed class, and thus, did not address

        or analyze the citizenship of the business entities that Plaintiffs expressly included.

                                   SUMMARY OF ARGUMENT

              1.     The district court’s remand order is inconsistent with CAFA’s intent to

        confer broad federal court jurisdiction, with narrowly-construed exceptions, and

        with any close question resolved in favor of federal jurisdiction. Construed

        narrowly in light of CAFA’s purposeful expansion of federal jurisdiction, the local

        controversy exception should have been rejected.

              2.     The district court erred in relying on erroneous factual premises that

        business entities were excluded from the proposed class, contrary to Plaintiffs’

        submissions, and proceeding with no discussion related to business entities, when



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        Plaintiffs expressly stated that the proposed class included properties where “the

        owner… was a business entity” based on its principal office. JA143. Plaintiffs did

        not identify any statute, regulation, or caselaw defining the term “principal office”

        as used by SDAT, identifying when any definition was put into effect, or

        establishing that it is equivalent to “principal place of business” for jurisdictional

        purposes.

                3.     Plaintiffs’ evidence regarding residence does not support a credible

        estimate that two-thirds of the putative class members are citizens of the forum

        state and should not have been interpreted to establish that individuals in the

        proposed class are citizens of Maryland who are domiciled in Maryland. As

        Plaintiffs’ evidence lists only property locations and did not provide any

        information about the owners, absent more information, a court has no way of

        knowing how many of the entries in Plaintiffs’ spreadsheet were properly included.

                                           ARGUMENT

           I.        Standard of Review.

                A district court’s decision to remand a removed case is reviewed de novo.

        See, e.g., AU Optronics Corp. v. South Carolina, 699 F.3d 385, 390 (4th Cir. 2012)

        (“We review de novo the question of whether a district court possessed subject

        matter jurisdiction under CAFA and, thus, whether a remand to state court was

        appropriate.”) (citations omitted); Payne ex rel. Est. of Calzada v. Brake, 439 F.3d



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        198, 203 (4th Cir. 2006) (“For questions concerning removal to federal court, our

        standard of review is de novo.”); Lanier v. Norfolk S. Corp., 256 F. App'x 629, 631

        (4th Cir. 2007) (similar).1

            II.     The District Court Erred in Holding that Plaintiffs Sufficiently
                    Established the Citizenship Requirement for CAFA’s Local
                    Controversy Exception.

                       A.     The Remand Order Conflicts with CAFA’s Intent.

                  Under the local controversy exception, remand is appropriate only if

        Plaintiffs prove, inter alia, that: “more than two-thirds of the members of the

        proposed plaintiff class are citizens of the state where the suit was filed originally.”

        Quicken Loans Inc. v. Alig, 737 F.3d 960, 964 (4th Cir. 2013) (citing 28 U.S.C. §

        1332(d)(4)(A)). Plaintiffs bear the burden of proof on all elements of the exception.

        See, e.g., Dominion Energy, Inc. v. City of Warren Police & Fire Ret. Sys., 928 F.3d

        325, 336 (4th Cir. 2019) (“Under CAFA, … the party seeking remand has the

        burden of proving that one of CAFA’s… exceptions to removal applies.”).

                  CAFA’s language, structure, and legislative history demonstrate that

        Congress contemplated broad federal court jurisdiction with only narrow

        exceptions. The Fourth Circuit has emphasized that “CAFA’s removal exceptions


        1
          See also, e.g., Allen v. Atlas Box & Crating Co., 59 F.4th 145, 147 (4th Cir. 2023)
        (“we review legal questions—including the requirements for commencing an
        action in federal court—de novo.”); McAdams v. Robinson, 26 F.4th 149, 155–56
        (4th Cir. 2022) (“We review questions of law de novo, including questions of
        statutory interpretation.”).

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        must be narrowly construed” and “because CAFA was intended to confer broad

        federal court jurisdiction . . . any close question has to be resolved in favor of

        removal to the federal court.” Dominion Energy, 928 F.3d at 342-43 & n.14. See

        also, e.g., Evans v. Walter Indus., Inc., 449 F.3d 1159, 1163 (11th Cir. 2006)

        (“CAFA’s language favors federal jurisdiction over class actions and CAFA’s

        legislative history suggests that Congress intended the local controversy exception

        to be a narrow one, with all doubts resolved ‘in favor of exercising jurisdiction

        over the case.’” (quoting S. Rep. No. 109-14, at 42)); Priselac v. Chemours Co.,

        561 F. Supp. 3d 562, 571 (E.D.N.C. 2021) (quoting Hood v. Gilster-Mary Lee

        Corp., 785 F.3d 263, 265 (8th Cir. 2015) (“’Any doubt about the applicability of

        [an] exception is resolved against the party seeking remand.’”)); Smith, 991 F.3d at

        1159 (similar); Arbuckle Mountain Ranch of Texas, Inc. v. Chesapeake Energy

        Corp., 810 F.3d 335, 338 (5th Cir. 2016) (“If the applicability of an exception is

        not shown with reasonable certainty, federal jurisdiction should be retained.”). The

        district court failed to give effect to this mandate.

              Here, Plaintiffs were required to produce evidence - not mere argument or

        assumption. Construed narrowly in light of CAFA’s purposeful expansion of

        federal jurisdiction, the local controversy exception should have been rejected.




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                     B.     The District Court Misinterpreted the Factual Record.

              In opposing remand, Skyline contended, inter alia, that “Plaintiffs’ analysis

        relating to government entities and companies is erroneous.” JA165 (citing JA106-

        108). The district court, however, never addressed the business entities that

        Plaintiffs stated were included in their calculation of Maryland citizens. Rather, the

        district court stated, “Based on the evidence provided by Plaintiffs, 83.87% of the

        putative class members are citizens of Maryland.” JA171 (citing its own footnote

        11, and JA143 (Greeley’s Reply Affidavit) at ¶ 8). In its cited footnote, the district

        court brushed off issues regarding entities as being “of no moment,” because,

        “whether or not ‘principal office’ properties are excluded from the data, Plaintiffs

        meet the first prong of the local controversy exception. However, Greeley’s

        exclusion of principal office properties enhances the general reliability of

        Plaintiffs’ methodology.” JA171. Greeley’s cited Reply Affidavit, however, did not

        exclude all “principal office properties” but rather only claimed to have excluded

        properties owned by “government entities,” which was the source of the 83.87%

        figure cited by the district court:

              8. All “government entities” I identified as owning a subject address (within
              the 4000-foot radius) were either the Mayor and City Council of Baltimore
              City … or the Baltimore City Housing Department… Eliminating the Mayor
              and City Council of Baltimore City and the Baltimore City Housing
              Department resulted in 83.87 percent of the putative class having either a
              “principal residence” or “principal office” located in Maryland.




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        JA143. And Plaintiffs expressly stated that the proposed class did include

        properties where “the owner… was a business entity” based on its principal office.

        JA143. Thus, the district court misinterpreted the submitted materials in

        concluding that Plaintiffs met the first prong of the local controversy exception

        “whether or not ‘principal office’ properties are excluded from the data…” JA171.

              Compounding the issue, Plaintiffs used the terms “principal office” as used

        on SDAT’s website, to be interchangeable with “principal place of business” and

        other terms. JA101 (Affidavit ¶ 6 referring to “a business” with its “principal place

        of business in Maryland”); JA143 (Reply Affidavit ¶ 6 referring to “the business

        entity’s principal address” in Maryland); and JA143 (Reply Affidavit ¶ 8 referring

        to a putative class member having its “’principal office’ located in Maryland.”).2

        Plaintiffs, however, did not identify any statute, regulation, or caselaw defining the

        term “principal office” as used by SDAT, identifying when any definition was put

        into effect, or establishing that it is equivalent to “principal place of business” for

        jurisdictional purposes. Rather, Plaintiffs relied on apparent assumptions that they

        are all one and the same.

        2
          Plaintiffs also argued that a “principal office” listing on SDAT’s website should
        be sufficient proof of citizenship. JA137-138 (arguing that a designation that an
        unidentified putative class member’s “‘principal office’ is in Maryland is sufficient
        evidence that the owner is a citizen of Maryland.”) (citing Cent. W. Virginia
        Energy Co. v. Mountain State Carbon, LLC, 636 F.3d 101, 102 (4th Cir. 2011)
        (holding generally for federal diversity jurisdiction purposes, that a corporation is a
        citizen of the state in which it has been incorporated and in which it has its
        principal place of business)).

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              However, “principal place of business” is a term of art with a judicially-

        defined meaning established by the Supreme Court for jurisdictional purposes. See,

        e.g., Cent. W. Virginia Energy Co., 636 F.3d at 103–04 (“the Supreme Court made

        clear that, for purposes of diversity jurisdiction, a corporation's principal place of

        business is always its ‘nerve center.’ Hertz, 130 S.Ct. at 1186. … the Court focused

        on the location of the corporation's officers who direct, control, and coordinate the

        company's business and clarified that that location, the corporation's ‘nerve center,’

        is, in all cases, the principal place of business.”). Plaintiffs neither discussed nor

        addressed that test and did not provide any evidence or factual basis to make such a

        determination. Moreover, Plaintiffs stated in a footnote that they “elect[ed]” not to

        identify the names or other information about the property owners in the putative

        class when seeking remand (JA53), and Plaintiffs did not identify how many of the

        putative class members were business entities.

              Here, the district court did not discuss this business entity issue because it

        misinterpreted Plaintiffs’ submissions to mean all business entities were removed

        from the class. However, it was Plaintiffs’ burden to prove the elements of the local

        controversy exception, and the district court erred in relying on erroneous factual

        premises, contrary to Plaintiffs’ submissions.




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                  C.    Plaintiffs’ Evidence Regarding Residency Does Not Establish
                        That Putative Class Members Are Citizens of Maryland Who
                        Are Domiciled in Maryland.

              Plaintiffs’ evidence regarding the citizenship of individuals in the proposed

        class is also deficient. Plaintiffs submitted a paralegal’s spreadsheet of addresses of

        properties purportedly within a 4,000-foot radius of the tower, indicating if SDAT’s

        website lists those properties, or other unidentified Maryland addresses, as the

        current owners’ “principal residence.” JA60-99, JA100-101. In their motion to

        remand, Plaintiffs failed to include any data regarding the timeframe or year(s) for

        which any property owners declared any properties as a “principal residence,” and

        failed to identify any of the other individuals or entities that owned properties.

        JA60-99, JA100-101. Moreover, Plaintiffs’ evidence regarding residence should

        not have been interpreted to establish that class members are citizens of Maryland

        who are domiciled in Maryland. See, e.g., Axel Johnson, Inc. v. Carroll Carolina

        Oil Co., 145 F.3d 660, 663 (4th Cir. 1998) (to be a “citizen” of a state for

        jurisdictional purposes, the individual must be “domiciled” in that state).

               An individual is not “domiciled” in a state unless the individual lives in a

        particular locality in the state “with intent to make it a fixed and permanent home.”

        Comm’r v. Nubar, 185 F.2d 584, 587 (4th Cir. 1950). As the district court noted,

        “[i]n cases where plaintiffs do not base citizenship on the class definition, they

        must provide evidence of the class members’ state of residence as well as evidence



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        showing their intent to remain in that state.” JA164 (citations omitted). Plaintiffs’

        paralegal’s affidavit and spreadsheet do not answer that question. And courts have

        rejected efforts to establish jurisdiction by using “residence” as a rough proxy for

        “domicile.” See, e.g., Axel Johnson, 145 F.3d at 663 (“the existence of such

        citizenship [for jurisdictional purposes] cannot be inferred from allegations of mere

        residence…”); Goostree v. Liberty Nat’l Life Ins. Co., WL 3338251, at *7. (N.D.

        Ala. July 25, 2019) (“[R]eliance on residence alone to infer citizenship under

        CAFA is misplaced.”); Smith, 991 F.3d at 1156–57 (stating that “residency does not

        equate to citizenship” and identifying other evidence to establish a person’s

        citizenship, including sworn statements of intent to remain). As Plaintiffs’ evidence

        lists only property locations and did not provide any information about the owners,

        absent more information, a court has no way of knowing how many of the entries

        in Plaintiffs’ spreadsheet were properly included.

              Courts interpreting CAFA have held that similar assertions or submissions

        do not constitute sufficient proof of citizenship required to establish CAFA

        exceptions. For example, in Evans, 449 F.3d at 1166, the plaintiffs submitted

        evidence with the remand motion papers including affidavits of counsel, finding

        that 93.8% of 5,200 potential class members were “Alabama residents,” and that

        “if 93.8% of the known plaintiffs are Alabama residents, then surely two-thirds of

        the entire plaintiff class are Alabama citizens.” The Eleventh Circuit held that the



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        plaintiffs’ “evidence” did not prove citizenship, ruling that “[w]e have no way of

        knowing what percentage of the plaintiff class are Alabama citizens.” Id. Thus, the

        plaintiffs “failed to prove that more than two-thirds of the plaintiffs’ class are

        Alabama citizens.” Id. Similarly, in Preston v. Tenet Healthsystem Memorial

        Medical Ctr., 485 F.3d 793 (5th Cir. 2007), the Fifth Circuit held that medical

        records of putative class members were insufficient to establish citizenship for

        purposes of CAFA’s exceptions. The court acknowledged that “marshaling

        evidence of citizenship for the unnamed class members may be a formidable task,”

        but concluded that courts “must evaluate [that evidence] on a case-by-case basis to

        determine whether the district court can make a credible estimate of whether two-

        thirds of the putative class members are citizens of the forum state.” Id. at 801.

        Consequently, the court reversed the district court's remand order. Id. See also, e.g.,

        Hood, 785 F.3d at 266 (finding that plaintiffs did not meet burden of proof because

        their evidence of citizenship, which relied on class members’ last known addresses,

        lacked “any sample, sampling methodology, or other indication of a disciplined

        approach”).

              Here, Plaintiffs failed to establish a credible percentage of the class who are

        citizens of Maryland, and thus failed to prove that more than two-thirds of the class

        are Maryland citizens as required. Compare, e.g., Evans, supra, 449 F.3d at 1165-

        66 (“We have no way of knowing what percentage of the plaintiff class are



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        Alabama citizens. We conclude that the evidence adduced by the plaintiffs [in the

        form of an attorney affidavit identifying that 93.8% of class members were

        Alabama residents] wholly fails to present a credible estimate of the percentage of

        the plaintiff class who are citizens of Alabama.”), with affidavit attached to

        Plaintiffs’ motion to remand (JA100-101) (affidavit of paralegal purporting to use

        designation of “principal residence” in SDAT databases, without authority to

        conclude that such tax records or designations are appropriate, accurate, or credible

        to establish that the putative class is comprised of a sufficient number of Maryland

        citizens). Plaintiffs’ evidence regarding the citizenship of individuals in the

        proposed class should not have been accepted as sufficient by the district court, and

        for this additional reason, the remand order should be reversed.

                                          CONCLUSION

              For the foregoing reasons, Skyline requests that the remand order be

        reversed with instructions that the district court retain its CAFA jurisdiction over

        this putative class action.

                       STATEMENT REGARDING ORAL ARGUMENT

              Skyline respectfully requests oral argument. This case presents a number of

        issues that this Court has not directly addressed and on which there is a split of

        authority, as the district court noted. JA161 (noting “’there is a circuit split as to

        whether the court may consider materials outside of the pleadings to determine



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        whether [a CAFA] exception applies versus confining its determination to the

        pleadings alone.’”) (citations omitted); JA161 (noting “most courts, including the

        Fourth Circuit, have been silent as to when and what they considered for

        evaluating exceptions to jurisdiction under CAFA.”) (citations omitted); JA167

        (noting “the Fourth Circuit has not yet addressed the question of whether a

        combination of driver’s licenses, residence addresses, and local requirements for

        vehicle registration and insurance suffice to establish domicile for purposes of the

        local controversy exception”); JA166 (discussing circuit split over whether a class

        member’s residency creates a presumption of citizenship for purposes of

        establishing CAFA’s local controversy exception and identifying that various

        courts “have rejected the rebuttable presumption in the CAFA context” on different

        grounds) (citations omitted).

                                         Respectfully submitted,

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            CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

              Undersigned counsel for Skyline Tower Painting, Inc. certifies:

              1.     This brief complies with type-volume limits because, excluding the

        parts of the document exempted by Fed. R. App. R. 32(f) (cover page, disclosure

        statement, table of contents, table of citations, statement regarding oral argument,

        signature block, certificates of counsel, addendum, attachments), this brief contains

        3,611 words, which, when combined with the opening brief of Television Tower,

        Inc., is within the total word limit for a single appellant’s opening brief.

              2.     This brief complies with the typeface and type style requirements

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        Microsoft Word in Fourteen point, Times New Roman.

                                                /s/ Thomas V. McCarron
                                                Thomas V. McCarron, Esq.




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                                            CERTIFICATE OF SERVICE

                 I hereby certify that on the 31st day of May, 2024, a true and accurate copy

        of the foregoing Corrected Opening Brief of Appellant Skyline Tower Painting,

        Inc. was filed and served electronically via the Court’s CM/ECF system on all

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